          Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 1 of 63




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                        )
 In re:                                                 ) Chapter 11
                                                        )
 ALEXANDER E. JONES,                                    ) Case No. 22-33553 (CML)
                                                        )
                         Debtor.                        )
                                                        )

                      EMERGENCY MOTION OF THE SANDY HOOK
             POST-TRIAL FAMILIES FOR RELIEF FROM THE AUTOMATIC STAY

          THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF
          IT IS GRANTED, THE MOVANT MAY ACT OUTSIDE OF THE
          BANKRUPTCY PROCESS. IF YOU DO NOT WANT THE STAY LIFTED,
          IMMEDIATELY CONTACT THE MOVING PARTY TO SETTLE. IF YOU
          CANNOT SETTLE, YOU MUST FILE A RESPONSE AND SEND A COPY
          TO THE MOVING PARTY AT LEAST SEVEN DAYS BEFORE THE
          HEARING. IF YOU CANNOT SETTLE, YOU MUST ATTEND THE
          HEARING. EVIDENCE MAY BE OFFERED AT THE HEARING AND
          THE COURT MAY RULE.

          REPRESENTED         PARTIES      SHOULD       ACT     THROUGH         THEIR
          ATTORNEY.

          EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
          CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
          WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
          THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
          EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
          FILE AN IMMEDIATE RESPONSE.

          EMERGENCY RELIEF IS NEEDED BY DECEMBER 16, 2022.

          THERE WILL BE A HEARING ON THIS MATTER ON DECEMBER 16,
          2022 AT 1:00 P.M. (PREVAILING CENTRAL TIME) IN COURTROOM
          401, 515 RUSK ST., HOUSTON, TX 77002.

          Neil Heslin and Scarlett Lewis (the “Texas Post-Trial Plaintiffs”) and David Wheeler,

Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer

Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg,
           Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 2 of 63




William Sherlach and Robert Parker (the “Connecticut Plaintiffs” and together with the Texas

Post-Trial Plaintiffs, the “Sandy Hook Post-Trial Families”),1 creditors and parties-in-interest in

the above-captioned chapter 11 case (this “Chapter 11 Case”) of Alexander E. Jones (“Jones” or

the “Debtor”), hereby move for relief from the automatic stay (this “Motion”) pursuant to section

362(d)(1) of title 11 of the United States Code (the “Bankruptcy Code”). In support of this Motion,

the Sandy Hook Post-Trial Families respectfully state as follows.

                                           PRELIMINARY STATEMENT

           1.      After more than four years of litigation before courts in Texas and Connecticut and

the recent verdicts and punitive damages awarded in such cases, the Sandy Hook Post-Trial

Families are on the verge of having their judgments entered against Jones and Free Speech

Systems, LLC (“FSS”). But the automatic stay triggered by this Chapter 11 Case has—for the

third time this year—needlessly halted these actions. The first stay stemmed from the bankruptcy

cases commenced by Jones’s shell companies, InfoW, LLC, IWHealth, LLC and Prison Planet

TV, LLC (the “Shell Companies” and such cases, the “Shell Company Cases”)—which were then

defendants in the Sandy Hook Post-Trial Families’ Cases (as defined below).2 As discussed infra,

the Shell Company Cases were dismissed and, thus, the automatic stay terminated. Thereafter, an

automatic stay again was imposed when FSS petitioned for bankruptcy protection under




1
  Actions filed by Leonard Pozner, Veronique De La Rosa and Marcel Fontaine (the “Texas Pre-Trial Plaintiffs”
and, together with the Texas Post-Trial Plaintiffs, the “Texas Plaintiffs”) have not yet been tried. The Texas Pre-
Trial Plaintiffs support the relief sought herein but do not, at this time, seek relief as to their actions specifically.
Plaintiff Marcel Fontaine was not defamed as to the Sandy Hook mass-shooting but in regards to the Parkland mass-
shooting. For ease of reference, this Motion refers to all of the Texas Plaintiffs and Connecticut Plaintiffs together
as the “Sandy Hook Families.” For the avoidance of doubt, the movants in this Motion are limited to the Sandy
Hook Post-Trial Families and, therefore, such defined term is used throughout for convenience. Any arguments or
statements herein regarding the Chapter 11 Case and creditors’ interests generally, however, including, in particular
regarding the issue of nondischargeability, apply equally to all Sandy Hook Families.
2
    In re InfoW, LLC, et al., Case Nos. 22-60020, 22-60021, 22-60022 (Bankr. S.D. Tex. 2022).

                                                           2
           Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 3 of 63




subchapter V (the “FSS Case”).3 That stay was lifted on a consensual basis to allow certain state

court actions in Texas and Connecticut to proceed to judgment, along with any appellate

proceedings stemming therefrom.4 The FSS Lift Stay Orders were entered on notice to Jones

individually and other alleged creditors of FSS, and Jones was a signatory to parts of the agreed

stipulation and order pertaining to the Connecticut cases.

           2.      Now, with a third automatic stay imposed by this Chapter 11 Case, the Sandy Hook

Post-Trial Families ask that the automatic stay be lifted once again to allow the underlying state

court verdicts against Jones5 to proceed to judgment and any subsequent appeal(s) he may pursue

to move forward. Jones has asserted in the FSS Case that allowing FSS’s and Jones’s individual

appeals to go forward at different times is problematic.6 The Sandy Hook Post-Trial Families

disagree and will file their objection at the appropriate time. Even if there were merit to Jones’s

contention, however, the solution is to provide an identical lift stay order in this Chapter 11 Case

to those entered in the FSS Case, such that both debtors’ appeals may proceed simultaneously.

           3.      The Sandy Hook Post-Trial Families are the largest creditors of both Jones and FSS

and stand to recover virtually all of the value of their respective estates. The verdicts and judicial

punitive damages awarded thus far total in excess of $1.5 billion. As such, the Sandy Hook Post-

Trial Families’ view that proceeding to final resolution in their underlying state court cases is a

prudent use of estate resources should receive overriding, if not dispositive, weight.



3
    In re Free Speech Systems, LLC, Case No. 22-60043 (Bankr. S.D. Tex. 2022).
4
    Case No. 22-60043, ECF Nos. 16 and 117 (collectively, the “FSS Lift Stay Orders”).
5
 The Sandy Hook Post-Trial Families have the following cases pending against Jones (collectively, the “Sandy Hook
Post-Trial Families’ Cases”): (i) Neil Heslin and Scarlett Lewis v. Alex E. Jones and Free Speech Systems, LLC, Cause
No. D-1-GN-18-001835, in the 261st District Court of Travis County, Texas; and (ii) Erica Lafferty, et al. v. Alex
Jones, et al., Case No. UWY-CV18-6046436-S, in the Superior Court of the Judicial District of Fairfield at Bridgeport,
Connecticut.
6
    Case No. 22-60043, ECF No. 300 (the “Stay Modification Motion”).

                                                          3
         Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 4 of 63




        4.       Jones and FSS wrongfully delayed inevitable judgments in the underlying litigation

by repeatedly engaging in sanctionable conduct. Indeed, judgments should have been rendered

years ago. And as previewed during the December 7 status conference in this Chapter 11 Case,

the Sandy Hook Families believe their claims are nondischargeable under Bankruptcy Code

section 523 in both this case and the FSS Case. Therefore, there is no reason to delay entering

judgments in the Sandy Hook Post-Trial Cases, which will be unaffected by either bankruptcy

case.

        5.       Lifting the stay as requested by this Motion is particularly innocuous given that any

relief from the stay will not include enforcement activity; and, therefore, Jones will still have the

breathing room afforded by the automatic stay in that regard. Nor will prosecuting appeals require

any involvement by Jones that would interfere with his ability to manage this Chapter 11 Case.

As such, modifying the automatic stay will not prejudice Jones or any other creditor. Given these

circumstances and the consensual FSS Lift Stay Orders, Jones’s subsequent request to modify such

orders is surprising and completely at odds with his frequently-voiced position that the verdicts,

awards and rulings against him will be overturned on appeal.7

        6.       For these reasons, and those below, the Sandy Hook Post-Trial Families

respectfully request that the automatic stay be lifted (i) to allow the Sandy Hook Post-Trial

Families’ Cases to proceed to final judgment and (ii) once judgments are entered, to allow appeals,

if any, to proceed and the Sandy Hook Post-Trial Families to respond and participate in any such

appeals without further order of the Court.




7
 See, e.g. Tiffany Hsu, ‘Do these people actually think they’re getting any money?’ Jones denounces the verdict,
and fund-raises, N.Y. TIMES (Oct. 12, 2022), https://www.nytimes.com/2022/10/12/us/politics/alex-jones-
denounces-verdict.html.

                                                         4
        Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 5 of 63



                             BASIS FOR EMERGENCY RELIEF

       7.      The Sandy Hook Post-Trial Families respectfully request emergency consideration

of this Motion in accordance with this Court’s prior instructions. Specifically, the Court stated at

the initial status conference in this Chapter 11 Case on December 7, 2022 that the Sandy Hook

Families may file a motion to lift the stay on or before December 12, 2022 to be heard

contemporaneously with the Stay Modification Motion, which the Court scheduled for hearing on

December 16, 2022 at 1:00 p.m. (prevailing Central Time). Therefore, the Sandy Hook Post-Trial

Families respectfully request that this Motion be heard on an emergency basis on December 16,

2022 at 1:00 p.m. (prevailing Central Time) in accordance with such instructions.

                                    JURISDICTION AND VENUE

       8.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2).

       9.      Venue is proper in the Court under 28 U.S.C. §§ 1408 and 1409.

       10.     The statutory and procedural bases for the relief requested herein are Bankruptcy

Code sections 105(a) and 362, Rules 4001 and 9014 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”) and Rule 9013-1 of the Local Bankruptcy Rules for the Southern District

of Texas (the “Bankruptcy Local Rules”).

                                            BACKGROUND

   A. The Underlying Cases

       11.     Immediately following the Sandy Hook Elementary School shooting on December

14, 2012, Jones began broadcasting on his media program to an audience of millions that this

shooting was a hoax, and that the Sandy Hook Post-Trial Families, among others, were crisis actors

masquerading as grieving parents. Jones urged his audience to “investigate,” knowing full well

                                                 5
         Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 6 of 63




that this would make the families targets of his massive radio, web and social media audiences.

        12.      The Sandy Hook Post-Trial Families brought suit against Jones and various entities

he owns and controls (collectively, the “Jones Defendants”) based on this conduct. The Sandy

Hook Post-Trial Families are not financial creditors. They neither loaned Jones money nor fell

victim to some fraudulent financial scheme. Rather, they are involuntary creditors, as victims of

Jones’s decade-long monetization of repeated and systemic attacks on their character.

        13.      In the Sandy Hook Post-Trial Families’ Cases, Jones and FSS have engaged in

pervasive discovery misconduct so egregious that state courts in both Connecticut and Texas

resolved liability against Jones and FSS and further precluded them from introducing any evidence

in support of any defense. Jones and FSS engaged in tactics that delayed the cases for years and

used the litigation to continue their attacks against the Sandy Hook Post-Trial Families.

        14.      The recent punitive damages ruling of Connecticut Superior Court Judge Barbara

N. Bellis, who has presided over the Connecticut cases since they were filed, gives significant

insight into the extent to which Jones and FSS abused the judicial process in Connecticut:

                 [D]espite the magnitude of the injuries and ultimate outcome, there was a
                 low incentive to bring and maintain an action like this. The road to reach a
                 verdict here was a tortuous one, involving an unusual number of appeals,
                 an extraordinary number of court filings, and numerous forays into federal
                 court including bankruptcy court. Moreover, the trial record establishes that
                 the defendants remain in the unique position of having-and continuing to
                 utilize-an immense media platform and audience to continue to target the
                 plaintiffs, as well as mocking the plaintiffs' attorneys, the court, and the very
                 jury that they selected. It is, quite simply, unprecedented in American
                 jurisprudence[.]8

        15.      In the Connecticut Plaintiffs’ cases, verdicts totaling $965 million in compensatory

damages were rendered in favor of the fifteen plaintiffs and against FSS and Jones on October 12,



8
 Erica Lafferty, et al. v. Alex Jones, et al., Case No. UWY-CV18-6046436-S (Conn. Super. Ct. Nov. 10, 2022),
ECF No. 1026, at 42 (the “Connecticut Punitive Damages Opinion”), attached as Exhibit A.

                                                       6
         Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 7 of 63




2022. The trial court assessed a further amount of $473,139,555.94 in statutory and common law

punitive damages on November 10, 2022. Motions for remittitur and to set aside the verdict filed

by FSS and Jones have been fully briefed and oral argument has been waived. At a December 3,

2022 status conference, the Connecticut trial court recognized that the action was stayed as to

Jones as a result of the filing of this Chapter 11 Case. At that same status conference, the trial

court set a report-back date of December 16, 2022 for the parties to advise whether it should

proceed to rule on the post-verdict motions as to FSS only, or whether the automatic stay would

be lifted as to Jones in this Chapter 11 Case, so that it could proceed as to both parties.

         16.      In the Texas Post-Trial Plaintiffs’ case, the trial court heard on November 22, 2022

their motion to enter a judgment comprising the entire jury verdict that had been rendered, along

with costs and interest—totaling over $50 million. At the hearing, the trial court orally granted

the motion in its entirety. Before the final judgment was signed by the trial court, however, Jones

filed this Chapter 11 Case. At the same hearing, the trial court also scheduled trial dates for the

Texas Pre-Trial Plaintiffs’ cases. The trial for Sandy Hook parents Leonard Pozner and Veronique

De La Rosa was set for March 2023, and the trial on behalf of the late Marcel Fontaine was set for

October 2023.9

    B. The Shell Companies’ Bankruptcy Cases

         17.      Faced with imminent trials, Jones has attempted three times to use the bankruptcy

process to stall the Sandy Hook Post-Trial Families’ Cases. First, on April 17 and 18, 2022, the

Shell Companies—which at that time were defendants in the Sandy Hook Post-Trial Families’

Cases—petitioned for relief under subchapter V of chapter 11 of the Bankruptcy Code. Within


9
  Those trials were technically set as to Jones only, as the automatic stay in the FSS Case remains in place as to the
Texas Pre-Trial Plaintiffs. Counsel for the Texas Pre-Trial Plaintiffs had invited FSS to agree to lift the stay as to
FSS so it can participate in the trial too, but before any meaningful conference could occur on the subject, Jones
filed this Chapter 11 Case.

                                                           7
         Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 8 of 63




hours of these filings, the Sandy Hook Post-Trial Families’ Cases were removed to bankruptcy

court on the grounds of “related to” jurisdiction. The sole basis for such removal was the

commencement of the Shell Company Cases. The removals effectively stayed the Sandy Hook

Post-Trial Families’ Cases, even against Jones and FSS, who were not then debtors.

        18.      The U.S. Trustee moved to dismiss the Shell Company Cases, arguing that “[t]he

strategy employed here—filing bankruptcy for three non-operating members of a larger enterprise

to channel and cap liability against the other, revenue-generating members of that enterprise and

its owner using a bankruptcy subchapter designed to aid small, struggling businesses—is a novel

and dangerous tactic that is abusive and undermines the integrity of the bankruptcy system.”10 The

U.S. Trustee also argued that “Alex Jones and FSS hand-picked these three holding companies for

bankruptcy as part of a scheme engineered solely to limit their own legal liability, to deny parties

in interest a full accounting of their assets and to deny individuals their day in court and imminent

recovery for established liability.”11 The Sandy Hook Post-Trial Families also moved to dismiss

the Shell Company Cases as bad-faith filings.12 In order to obtain immediate remand and retain

their imminent trial dates, however, the Sandy Hook Post-Trial Families dismissed their causes of

action against the Shell Companies, resulting in their respective cases being able to proceed.

        19.      Shortly thereafter, the U.S. Trustee and the Shell Companies entered into a

stipulation to dismiss the chapter 11 cases, which the Court so ordered on June 10, 2022.13 Jones

and FSS are now the only remaining defendants in the Sandy Hook Post-Trial Families’ Cases.




10
   In re InfoW, LLC, Case No. 22-60020, ECF No. 50 at 2 (Bankr. S.D. Tex. Apr. 29, 2022).
11
   Id. at 16.
12
   Id. at ECF Nos. 36, 42.
13
   Id. at ECF No. 114.

                                                       8
         Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 9 of 63




     C. The FSS Case

        20.      Just weeks following the dismissal of the Shell Companies’ Cases, Jones returned

to bankruptcy court, this time on behalf of FSS, which on July 29, 2022 filed a petition under

subchapter V of chapter 11 of the Bankruptcy Code. On the same day, FSS also filed the

Emergency Motion for an Order Modifying the Automatic Stay to Allow the Heslin/Lewis State

Court Suit to Continue to Judgment.14 On August 1, 2022, the Court granted the uncontested

motion and lifted the automatic stay as to FSS to permit certain of the actions pending in Texas to

proceed to judgment by the Texas state court (the “Heslin/Lewis Lift Stay Order”).15

        21.      On July 31, 2022, the Connecticut Plaintiffs filed their Emergency Motion for Relief

from the Automatic Stay to proceed with the Connecticut state court litigation in the FSS Case.16

On August 29, 2022, an agreed order providing similar relief for the Connecticut Plaintiffs was

entered by the Court (the “Connecticut Stipulation and Lift Stay Order”).17 The Connecticut

Stipulation and Lift Stay Order began with a carefully negotiated stipulation concerning how the

Connecticut cases would proceed to trial.18 The Connecticut Stipulation and Lift Stay Order

specifically provides that in addition to being permitted to proceed to judgment, “[a]ll appeals of

any judgment in the State Court Litigation by the Connecticut State Court are also not stayed and

may proceed after judgment without further order of the Bankruptcy Court.”19 The Connecticut

Stipulation and Lift Stay Order, as a so-ordered stipulation, is not only an order of the Court but

also an agreement of the parties, including Jones, concerning how Jones and FSS would proceed


14
   See In re Free Speech Systems, LLC, Case No. 22-60043, ECF No. 2 (Bankr. S.D. Tex. 2022).
15
   Id. at ECF No. 16.
16
   Id. at ECF No. 15.
17
   Id. at ECF No. 117. The Heslin/Lewis Lift Stay Order and the Connecticut Stipulation and Lift Stay Order
collectively are referred to as the FSS Lift Stay Orders (as defined above).
18
   See Id. at ECF 117.
19
   Id. at 5.

                                                        9
            Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 10 of 63




to trial.

            22.   Further, during the hearing on August 29, 2022 in the FSS Case, this Court clarified

as follows: “I would note, just for the record, that the [Connecticut Stipulation and Lift Stay Order]

allows the litigation to continue to final judgment, including any appeals, but any enforcement of

that order with respect to FSS is stayed . . . I have approved, I believe the Connecticut Plaintiffs

have satisfied their duty at requisite cause and there’s agreement on the record[.]”20 Jones

registered no objections to either of the FSS Lift Stay Orders.

            23.   The Sandy Hook Post-Trial Families now seek the same scope of relief in this

Chapter 11 Case as granted by the FSS Lift Stay Orders.

                                          RELIEF REQUESTED

            24.   For the reasons stated herein, the Sandy Hook Post-Trial Families respectfully

submit that cause exists to lift the automatic stay in this Chapter 11 Case to allow entry of final

judgments in the Sandy Hook Post-Trial Families’ Cases. Accordingly, the Sandy Hook Post-

Trial Families request that, consistent with the FSS Lift Stay Orders, the Court grant this Motion

and enter an order, substantially in the form attached hereto, modifying the automatic stay (i) to

allow the Sandy Hook Post-Trial Families’ Cases to proceed to final judgment and (ii) once

judgments are entered, to allow appeals, if any, to proceed and the Sandy Hook Post-Trial Families

to respond and participate in any such appeals without further order of the Court.

                                           BASIS FOR RELIEF

            25.   Bankruptcy Code section 362(d) provides that a “court shall grant relief from the

stay . . . for cause.” 11 U.S.C. § 362(d)(1). The term “cause” used in Bankruptcy Code section


20
  Case No. 22-60043, Aug. 29, 2022 Hr’g Tr. 10:15-25 (emphasis added). Although this Court did not specifically
address appeals in connection with the Heslin/Lewis Lift Stay Order, there is no reason to believe such relief is
narrower than that contemplated by the Connecticut Lift Stay Order. Such conclusion is also consistent with Jones’s
Stay Modification Motion filed in the FSS Case.

                                                        10
       Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 11 of 63




362(d)(1) is not defined in the Bankruptcy Code and whether cause exists must be determined on

a case by case basis. See In re Xenon Anesthesia of Tex., PLLC, 510 B.R. 106, 112 (S.D. Tex.

2014). As a result, “this lack of definition affords ‘flexibility to the bankruptcy courts’” to consider

and grant requests for relief from the automatic stay. Bonneville Power Admin. v. Mirant Corp.

(In re Mirant Corp.), 440 F.3d 238, 251–53 (5th Cir. 2006) (quoting Little Creek Dev. Co. v.

Commw. Mortg. Corp. (In re Little Creek Dev. Co.), 779 F.2d 1068, 1072 (5th Cir. 1986)). Courts

within this Circuit have held that “[a]llowing a matter to proceed in another forum may constitute

cause . . . [t]he Bankruptcy Code gives the court broad discretion to provide appropriate relief from

the automatic stay as may fit the facts of a particular case.” Xenon, 510 B.R. at 112 (citation

omitted).

       26.     In determining whether to lift the automatic stay to allow litigation against a debtor

to proceed in another forum, courts in this District generally consider the following factors (the

“Xenon Factors”):

       (1) whether the relief will result in a partial or complete resolution of the issues;

       (2) lack of any connection with or interference with the bankruptcy case;

       (3) whether the other proceeding involves the debtor as a fiduciary;

       (4) whether a specialized tribunal has been established to hear the particular cause of action;

       (5) whether the debtor’s insurer has assumed full responsibility;

       (6) whether the action primarily involves third parties;

       (7) whether litigation in the other forum would prejudice the interests of other creditors;

       (8) whether the judgment claim arising from the other action is subject to equitable
       subordination;

       (9) whether the movant’s success would result in a judicial lien avoidable by the debtor;

       (10) interests of judicial economy and the expeditious and economical resolution of
       litigation;


                                                  11
           Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 12 of 63




           (11) whether the proceedings have progressed to the point that parties are ready for trial;
           and

           (12) the impact of the stay on the parties and the balance of harm.

Id. (citing inter alia, In re U.S. Brass Corp., 176 B.R. 11, 13 (Bankr. E.D. Tex. 1994) and In re

Sonnax Indus., Inc., 907 F.2d 1280, 1286 (2d Cir. 1990)).                  Rather than being imposed

mechanistically, however, courts have held that “[t]hese factors need not be assigned equal weight,

and only those factors relevant to the particular case need to be considered.” In re U.S. Brass

Corp., 176 B.R. at 13. “Further, the decision to lift the stay may be upheld on judicial economy

grounds alone.” Xenon, 510 B.R. at 112.

           29.       Significantly, here, most of the Xenon Factors weigh strongly in favor of lifting the

stay. Specifically factors 1, 2, 4 and 7 through 12 support the requested relief. The remaining

factors are neutral or inapplicable, and none weighs in favor denying such relief.

     I.    Lifting the Stay Will Result in a Complete Resolution, Will Facilitate, Rather than
           Interfere with, this Chapter 11 Case and Will Not Prejudice Other Parties in
           Interest.21

           30.       As matters presently stand, the automatic stay is lifted in the FSS Case such that

the Sandy Hook Post-Trial families may respond or participate in appeals as against FSS, but such

appeals are stayed as to Jones. Relief from the automatic stay as to FSS was a part of carefully

negotiated so-ordered stipulations that cannot simply be rewritten because now they do not suit

Jones (especially when Jones could have objected to entry of either of the FSS Lift Stay Orders,

but did not). The Sandy Hook Post-Trial Families dispute that any material problem would be

presented by bifurcated appeals. But even assuming arguendo that there is some significant




21
     Xenon Factors 1, 2, 4, 7, 8 and 9.

                                                      12
        Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 13 of 63




inefficiency with appeals going forward at different times, the best and obvious course is to the lift

the stay here.

        31.      Damages assessments totaling in excess of $1.5 billion in the aggregate have been

entered in certain of the Sandy Hook Post-Trial Families’ Cases. Thus, the Sandy Hook Post-Trial

Families stand to receive substantially all of the value in the estates of both FSS and Jones. Any

argument that lifting the automatic stay, as requested by this Motion, would needlessly waste estate

resources or somehow interfere with the Chapter 11 Case strains credulity. It also permits Jones’s

appeal to be prosecuted at the same time as FSS’s appeal, allowing the two debtors to share the

cost of such appeal.

        32.      Permitting the Sandy Hook Post-Trial Families’ Cases to proceed to judgment and

appeal will result in finality regarding the largest—if not only significant—claims in both this

Chapter 11 Case and the FSS Case. In turn, such finality will facilitate a resolution in each chapter

11 case by solidifying the quantum of claims that cannot be liquidated or otherwise adjudicated by

this Court. Nor is there any possible contention that the claims of the Sandy Hook Post-Trial

Families would be subject to equitable subordination or give rise to an avoidable judicial lien.

These claims cannot be undone in bankruptcy, and fixing the final liquidated amount of these

claims will be final and binding on Jones and any other creditors he may have.

        33.      Moreover, the Sandy Hook Families’ claims are nondischargeable under

Bankruptcy Code section 523(a)(6)22 in both chapter 11 cases.23 Therefore, preventing judgments


22
   See Connecticut Punitive Damages Opinion at 43-44 (the “record clearly supports the plaintiffs’ argument that the
defendants’ conduct was intentional and malicious, and certain to cause harm;” was “wanton… and heinous” and
reflected “depravity” and “reprehensibility”).
23
   See McClendon v. Springfield (In re McClendon), 765 F.3d 501 (5th Cir. 2014) (finding state court defamation
judgment was a nondischargeable debt pursuant to section 523(a)(6)); Purser v. Scarbrough (In re Scarbrough), 516
B.R. 897 (Bankr. W.D. Tex. 2014), aff’d, 836 F.3d 447 (5th Cir. 2016) (same); Cantwell-Cleary Co. v. Cleary
Packaging, LLC (In re Cleary Packaging, LLC), 36 F.4th 509 (4th Cir. 2022) (finding the discharge exceptions in
section 523(a) applicable in subchapter V cases).

                                                        13
           Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 14 of 63




from being entered and appeals from commencing does nothing more than delay the inevitable.24

And allowing Jones to continue to delay the final resolution of the Sandy Hook

Post-Trial Families’ Cases, after the years of “unprecedented” abuse and delay imposed on them

in the state court cases, is wholly inequitable. As illustrated supra, the underlying cases have been

delayed repeatedly by Jones’s procedural gamesmanship. To the extent Jones intends to appeal,

all appeals should proceed now.

 II.       The Underlying Proceedings Have Progressed Passed the Trial Stage, and the
           Interests of Judicial Economy and the Expeditious and Economical Resolution of
           Litigation Would Be Served by Lifting the Stay25

           34.     The Sandy Hook Post-Trial Families’ Cases have progressed to advanced stages,

including the rendering of verdicts and determinations of liability in several such cases. The

advanced stage of the litigation strongly favors lifting the stay, as Jones will not be distracted by

any pre-trial or trial proceedings and will remain fully available to participate as needed in his

Chapter 11 Case.

           35.     Further, without question, the Connecticut and Texas appellate courts are the only

forums that can determine any appeals in the Sandy Hook Post-Trial Cases. As such, judicial

economy would be served by lifting the stay. Entry of judgment, and any appellate processes, are

quite literally the final steps in these cases.

III.       The Balance of Harms Weighs in Favor of Lifting the Stay26

           36.     For all the reasons set forth herein, the balance of harms weighs heavily in favor of

lifting the stay. After over four years of litigation, the Sandy Hook Post-Trial Families deserve



24
  See Disciplinary Bd. of Pa. Sup. Ct. v. Feingold (In re Feingold), 730 F.3d 1268, 1278 (11th Cir. 2013) (finding
the nondischargeability of a debt may be “a weighty factor[] in a bankruptcy court’s evaluation of ‘cause.’”).
25
     Xenon Factors 10 and 11.
26
     Xenon Factor 12.

                                                        14
       Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 15 of 63




finality as to their claims. That finality, in turn, will facilitate resolution in this Chapter 11 Case

and the FSS Case and will not otherwise prejudice any party, including Jones. Nor will lifting of

the automatic stay prejudice any other creditors in either the FSS Case or this Chapter 11 Case for

the reasons discussed herein.

        37.     This is Jones’s third attempt to use the bankruptcy system to halt the Sandy Hook

Post-Trial Families’ Cases. The first set of chapter 11 cases were dismissed and the stay was lifted

in the FSS Case to allow the Sandy Hook Post-Trial Families’ Cases to proceed. There is no reason

for identical relief to be denied here.

                 REQUEST FOR WAIVER OF BANKRUPTCY RULE 4001

        38.     The Sandy Hook Post-Trial Families respectfully request that the 14-day stay

imposed by Bankruptcy Rule 4001(a)(3) be waived to allow the Sandy Hook Post-Trial Families

to proceed immediately in the Sandy Hook Post-Trial Families’ Cases upon the lifting of the

automatic stay as requested herein. The Sandy Hook Post-Trial Families request this relief to

(i) prevent abuse of the bankruptcy process; (ii) protect against prejudicial delay; and (iii) promote

judicial efficiency.

                                          CONCLUSION

        Based on the foregoing, the Sandy Hook Post-Trial Families respectfully request that this

Court: (a) grant the Sandy Hook Post-Trial Families relief from the automatic stay (i) to allow the

Sandy Hook Post-Trial Families’ Cases to proceed to final judgment and (ii) once judgments are

entered, to allow appeals, if any, to proceed and the Sandy Hook Post-Trial Families to respond

and participate in any such appeals without further order of the Court; (b) waive the 14-day stay

requirement under Bankruptcy Rule 4001(a)(3); and (c) grant such other and further relief as is

just, proper and equitable.



                                                  15
     Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 16 of 63




Dated: December 12, 2022                       Respectfully submitted,

MCDOWELL HETHERINGTON LLP                      CAIN & SKARNULIS PLLC
By: /s/ Avi Moshenberg                         By: /s/ Ryan E. Chapple
Avi Moshenberg                                 Ryan E. Chapple
Texas Bar No. 24083532                         Texas Bar No. 24036354
1001 Fannin Street, Suite 2700                 303 Colorado Street, Suite 2850
Houston, Texas 77002                           Austin, Texas 78701
Telephone: (713) 337-5580                      Telephone: 512-477-5000
Fax: (713) 337-8850                            Fax: 512-477-5011
Email: Avi.Moshenberg@mhllp.com                Email: rchapple@cstrial.com
Counsel for the Texas Plaintiffs               Bankruptcy Counsel for the Connecticut
                                               Plaintiffs

CHAMBERLAIN, HRDLICKA, WHITE,                  AKIN GUMP STRAUSS HAUER & FELD
WILLIAMS & AUGHTRY, PC                         LLP
By: /s/ Jarrod B. Martin                       By: /s/ Marty L. Brimmage
Jarrod B. Martin                               Marty L. Brimmage, Jr.
Texas Bar No. 24070221                         Texas Bar No. 00793386
Tyler W. Greenwood                             2300 N. Field Street, Suite 1800
Texas Bar No. 24123219                         Dallas, TX 75201
1200 Smith Street, Suite 1400                  Telephone: (214) 969-2800
Houston, Texas 77002                           Fax: (214) 969-4343
Telephone: (713) 356-1280                      Email: mbrimmage@akingump.com
Fax: (713) 658-2553
Email: jarrod.martin@chamberlainlaw.com        -and-
Bankruptcy Counsel for the Texas Plaintiffs
                                               Ira S. Dizengoff (pro hac vice pending)
                                               David M. Zensky (admitted pro hac vice)
                                               Philip C. Dublin (admitted pro hac vice)
                                               Sara L. Brauner (admitted pro hac vice)
                                               Katherine Porter (admitted pro hac vice)
                                               One Bryant Park
                                               New York, NY 10036
                                               Telephone: (212) 872-1000
                                               Fax: (212) 872-1002
                                               Email: idizengoff@akingump.com
                                               Email: dzensky@akingump.com
                                               Email: pdublin@akingump.com
                                               Email: sbrauner@akingump.com
                                               Email: kporter@akingump.com
                                               Bankruptcy Counsel for the Sandy Hook
                                               Families




                                              16
       Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 17 of 63




                               CERTIFICATE OF ACCURACY

         Pursuant to Bankruptcy Local Rule 9013-1(i), I hereby certify that the factual statements
contained herein are true and correct, to the best of my personal knowledge, and that emergency
relief is necessary in light of impending hearings and deadlines.

                                              /s/ Marty L. Brimmage
                                              Marty L. Brimmage



                                CERTIFICATE OF SERVICE


         The undersigned certifies that on December 12, 2022, a true and correct copy of the
foregoing Motion was served electronically on all parties registered to receive electronic notice of
filings in this case via this Court’s ECF notification system.

                                              /s/ Marty L. Brimmage
                                              Marty L. Brimmage




                             CERTIFICATE OF CONFERENCE


       The undersigned certifies that on December 12, 2022, I conferred with Debtor’s counsel,
and as of the filing of the Motion, Debtor’s counsel has not responded to our requested regarding
the Motion.

                                              /s/ Marty L. Brimmage
                                              Marty L. Brimmage




                                                17
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 18 of 63




                             Exhibit A

                Connecticut Punitive Damages Opinion
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 19 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 20 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 21 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 22 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 23 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 24 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 25 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 26 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 27 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 28 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 29 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 30 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 31 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 32 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 33 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 34 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 35 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 36 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 37 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 38 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 39 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 40 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 41 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 42 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 43 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 44 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 45 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 46 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 47 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 48 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 49 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 50 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 51 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 52 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 53 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 54 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 55 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 56 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 57 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 58 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 59 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 60 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 61 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 62 of 63
Case 22-33553 Document 38 Filed in TXSB on 12/12/22 Page 63 of 63
